             Case 1:21-cr-00216-JDB Document 85 Filed 04/18/24 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                (HONORABLE JOHN D. BATES)

     UNITED STATES OF AMERICA,                         )
                                                       )        1:21cr216
             Plaintiff,                                )
                                                                 REQUEST FOR POSTOPONEMENT
                                                       )         OF DEFENDANT’S SENTENCING
     vs.
                                                       )         HEARING
     LEO BRENT BOZELL IV,                              )
                                                       )
             Defendant.                                )
                                                       )


            We, William L. Shipley and Eric Snyder, Counsel for Defendant Leo Brent Bozell IV,
    respectfully ask the Court to postpone Mr. Bozell's sentencing hearing on a date not later than July
    15th, 2024. I request the continuance of Mr. Bozell’s sentencing hearing, which is currently
    scheduled for May 2nd, 2024.

           Given the D.C. Circuit Court's recent decision in United States v. Brock and the pending
    outcome of United States v. Fischer this coming June, we believe that postponement of the
    aforementioned dates in Mr. Bozell’s case would have a material impact on the outcome of his
    sentencing in light of the argument before the United States Supreme Court in United States v.
    Fischer, on April 16, 2024, and what seems to be a strong belief across the legal community that 18
    USC 1512(c)(2) may not apply to conduct engaged in by Mr. Bozell on January 6, 2021.

            Here, we have Mr. Bozell, who accepted guilt for Counts 2, 3, 4, and Counts 6-10, 1 but
    contested, as he needed to, this charge and the assault, in that he did not commit any assault, nor any
    acts of violence. At the time that Mr. Bozell elected to go to trial, he could not accept a plea deal in
    which he would be he would be required to accept a combined 11-levels from guideline
    enhancements, pursuant to USSG §2J1.2(b)(1)(B) and USSG §2J1.2(b)(2), which have now been
    struck down by the D.C. Circuit in Brock. 2 Mr. Bozell was not Obstructing an Official Proceeding
    and Aiding and Abetting. Hence, given the distinct possibility that the Supreme Court could strike
    down these offenses, it seems more efficient for both the Court and the parties to push off
    sentencing until after a ruling is issued, which is anticipated to be in late June or early July.

    We therefore move this Honorable Court to schedule the sentencing hearing for a date not later than
                                            July 15th, 2024.


1
  Counts 2-3: Destruction of Government Property and Aiding and Abetting - 18 USC §§ 1361 and 2; Count 4: Civil
Disorder - 18 USC § 231(a)(3); Count 6: Entering and Remaining in a Restricted Building and Grounds - 18 USC §
1752(a)(1); Count 7: Disorderly and Disruptive a Restricted Building and Grounds - 18 USC § 1752(a)(2); Count 8:
Disorderly Conduct in a Capitol Building - 40 USC § 5104(e)(2)(D); Count 9: Act of Physical Violence in the Capitol
Grounds or Buildings - 40 USC § 5104(e)(2)(F); Count 10: Parading, Demonstrating, or Picketing in a Capitol Building - 40
USC § 5104(e)(2)(G).
2
  United States v. Brock, No. 23-3045 21 (D.C. Cir. 2024).
Case 1:21-cr-00216-JDB Document 85 Filed 04/18/24 Page 2 of 3



                                                    Respectfully Submitted,

                                        /s/ William L. Shipley & Eric Snyder


                                                        WILLIAM L. SHIPLEY
                                                           Shipley Law Offices
                                                          Kailua, Hawaii 96734
                                                          Phone: 808-228-1341
                                              Email: 808Shipleylaw@gmail.com
                                                         Attorney for Defendant


                                                               ERIC SNYDER
                                                               888 16th St NW
                                                        Washington, DC 20006
                                                         Phone: (202) 857-1700
                                                           Fax: (212) 548-7113
                                            Email: esnyder@mcguirewoods.com
                                                        Attorney for Defendant
          Case 1:21-cr-00216-JDB Document 85 Filed 04/18/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

I hereby certify that on April 18, 2024, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon
all parties in interest including the Assistant United States Attorney Ashley Akers.


                                                              /s/ William L. Shipley & Eric Snyder
